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AO 239 (Rcv Ol/l 5) App|ication to Proceed in District Coun Without l"rcpaymg Fees or Costs (Long Form)

UNITED STATES DISTRlCT COURT

 

 

 

for the ' -(-;
Middte Districtofrlorida E| t
Onas Burgos Santiago )
wi /’IaianPelitioner ) ’K-
) Civil Action No. 21 \q` cv tag l 3 ?> has
F%,F /lao 7‘ 4, faa §

Hndam/Res Mnde;

APPLICAT|O TO PROCEED IN DISTRlCT COURT Wl'l`l-IOUT PREPAYING FEES OR COS'I`S
(Long Form)

 

At`l'ldavit in Support of the Application

l am a plaintiff or petitioner in this case and declare
that l am unable to pay the costs of these proceedings
and that l am entitled to the relief requested l declare
under penalty of` perjury that the information below is
true and understa that a false ment may result in
a dismissal ofm aims.

  
  

Signed:

 

 

l l.,

Instructions

Complete all questions in this application and then sign it.
Do not leave any blanks: if the answer to a question is "."0
“none,” or “not applicable (N/A),” write that rcsponse. |t`
you need more space to answer a question or to explain your
answer, attach a separate sheet of paper identified with your
name, your case's ocket mber, and the question number.

Date: 9' 0v 9'9/ 7_

 

I. For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweek|y, quarter|y,
semiannua||y, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions

for taxes or otherwise.

 

 

 

 

 

 

 

 

 

 

 

lncome source Avcrage monthly income lncome amount expected
amount during the past 12 next month
months

You Spouse You Spouse
Empl<>ym<>m $ 0.00 s 0.00 s 0.00 s 0.00
Se|l-employment $ 9.000.00 $ 0.00 $ 0_00 $ 0_00
lncome from real property (suchas remaiincame) $ O'OO $ 0_00 $ 000 3 0_00
lnterest and dividends $ 0 00 5 0 00 $ 0 00 $ 0 00
Glil$ $ 0_00 $ 0.00 $ O_OO $ 0.00
Alimony $ 0_00 $ 0_00 $ 0.00 $ O.OO
Child support $ 0_00 $ 0.00 $ 0.00 $ 0.00

 

 

 

 

 

 

 

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A() 239 tRev. 0 l/lS) App|ication to I’rocecd in District Court Without l’repaying I-'ees or Costs (Long Form)
Relil‘€menl (xuch as social securr`ry_ pensions annuities $ 0 00 $ 0 00 $ 0 00 $ 0 00
insurance) . l ' .
Dtsablllty (such as social securny, insurance paymenls) $ 0‘00 $ 0.00 $ 0.00 3 000
U"emp'°y"‘°‘“ payments $ 0 00 $ 0 00 $ 0 00 $ 0 00
Pub|ic~assistance (suchas welfare) $ 0 00 0 0 00 $ 0 00 s 0 00
O‘he' (‘”“‘fy): $ 0.00 $ 0.00 $ 0.00 $ 0.00!
Total monthly incomc: $ 9,000.00 $ 0.00 $ 0.00 $ 0.00
2. List your employment history f`or the past two years, most recent employer first. (Gmss nmmhlypay is before rates or
other deductions.)
Employer Address Dates of employment Gross
monthly |Liv
Burgos C|eaning Services 16213 Coastal P|ain Dr FL 34610 03/2016 to 08/31/2017 $ 750.00
$
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
laws or other deduclion.s.)
Employer Address Dates of employment Gross
monthly pav
$
$
$
4. How much cash do you and your spouse have? $ 200'00
Below, state any money you or your spouse have in bank accounts or in any other financial institution
Financia| institution Type ofaccount Amount you have Amount your
spouse has
Bank ot America Checking $ 200.00 $ 0.00
$ $
$ 3

 

 

 

 

 

lf you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts.
expenditures, and balances during the last six months in your institutional accounts. lf` you have multiple accounts.
perhaps because you have been in multiple institutions, attach one certified statement of each account.

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A() 239 (Rev 0|/1$) Application lo l’roceed in District Court Without l’repaying Fces or Costs(Long Form)
5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household f`umishings.
Assets owned by you or your spouse
HOme (|"u/ue) $ 0.00
Othe c l tate V l
I'l' 8 eS (aue) $ 0.00
Motor vehicle #1 {Value) $ 3.000.00
Make and year: Chevor|et 2006
Mode|: Si|verado
Registration #:
Motor vehicle #2 (l/alue) $
Make and year:
Model:
Registration #:
Other assets (Vahm) $
Other assets (Value) $
6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed to you Amount owed to your spouse
money
N/A $ 0.00 $ 0.00
N/A S 0.00 S 0.00
N/A 5 0.00 S 0.00
7. State the persons who rely on you or your spouse for support.

 

Name (or, if under 18, initials only) Rclationship Age

 

 

 

 

 

 

 

 

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l’age 4 ol` 5

 

8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweek|y, quarter|y, semiannually. or annually to show the

monthly rate.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Alimony, maintenance, and support paid to others

 

 

You Your spouse

Rent or home~mortgage payment (including lot rented far mobile home)

Are real estate taxes included? Yes Cl No 400.00 $ 0_00

ls progny insurance included? Cl Yes d No
Utilities (elecrriciry. hearing fuel, warer_ sewer, and relephone) 125.00 5 30.00
Home maintenance (repairs and upkeep) 0.00 $ 0.00
Food 300.00 $ 0.00
C|olhing 0.00 $ 0.00
Laundry and dry-cleaning 0.00 5 0.00
Medica| and dental expenses 0.00 8 0.00
TranSpOl'tation (m)t including motor vehicle payments) 0.00 $ 0.00
Recreation, entertainment, newspapers, magazines, etc. 0.00 $ 0.00
insurance (nol deducted from wages or included in mortgage payments)

Homeowner's or renter’s: N/A 0.00 5 0.00

Lit`e: N/A 0.00 S 0.00

Health: N/A 0.00 $ 0.00

Motor vehicle: N/A 0.00 $ 0.00

Other: N/A 0.00 S 0.00
TaXCS /nol deducted from wages or included in mortgage payments) (specl_`[v): 01 00 5 0_ 00
lnsta|lment payments

Motor vehicle: N/A O»OO S 0~00

Credit card zimmer N/A 0.00 s 0.00

Department store ()mme): N/A 0'00 5 0'00

Other: N/A 0.00 S 0.00

0.00 5 0.00

 

 

 

 

 

 

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AO 239 (Rcv. 0\/ 15) App|ication to Proceed in District Court Without Prepaying Fccs or Costs (l.ong Form)
Regular expenses for operation of business, profession, or farm (aiiach deiailed
.\`lal€"lt.’lll) 0`00 5 O`OO
Other (specij'): 0.00 S 0.00
825.00 30.00
Total monthly expenses: $
9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
next 12 months?
CI Yes t!f No lf yes, describe on an attached sheet.
IO. Have you spent - or will you be spending - any money for expenses or attorney fees in conjunction with this
lawsuit? Cl Yes !FNo
l f yes, how much? $ _W_ _~_
l l. Provide_ang other information that will help_ explain why you cannot pay the costs of these proceedings
My family e|ps me out on a needed to basis.

12. ldenti the cit and state of our legal residence.
Sprin;yHi|l, FLy y
Your daytime phone number: _ (727) 271'1154 ~_

Your age: _ 34 Your years of schooling: _ 12

 

